Case 2:04-cr-20498-SHI\/|-ch Document 44 Filed 06/24/05 Page 1 of 2 Page|D 55

 

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IN THE UNITED sTATEs DIsTRIcT coURT 21 -- ~"~1
FOR THE WESTERN DISTRICT oF TENNESSEE 35 ¢;_;;,52£4 m `_
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UNITED STATES OF AMERICA,

VS. NO. O4-20498-Ma

RONALD JONES,

Defendant.

 

ORDER RESETTING HEARING

 

Before the court is the June 22, 2005, motion by Ronald
Jones, to reset the hearing on the motion to suppress which was
set on June 23, 2005. Counsel for the government does not oppose
the resetting. For good cause shown, the motion is granted. The

hearing on the motion to suppress is reset to Wednesday, July 6,

2005, at 2:00 p.m.

°"" day Of Jun@, 2005.

M/M-~

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

It is so ORDERED this

 

 

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ESSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

